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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN

In re:                                            Hon. James W. Boyd

SHAUN PAUL GOBER,                                 Case No. 21-00147-JWB

                                                  Chapter 7
                  Debtor
___________________________________/

                             RULE 6004(f)(1) SALE REPORT

       Pursuant to Fed.R.Bankr.P. 6004(f)(1), Kelly M. Hagan (“Trustee”), the duly-appointed
chapter 7 trustee in this case, for her Rule 6004(f)(1) Sale Report states as follows:

       1.     Debtor Shaun Paul Gober filed this case under chapter 7 of the Bankruptcy Code,
11 U.S.C. §§ 101 et seq. on January 21, 2021.

       2.      Pursuant to an order confirming sale entered by this Court on September 10,
2021, Trustee sold 1985 Porsche VIN WP0JB0921FA860652, 2004 Buell motorcycle VIN
4MAAX59J043445136, 2014 Bravo trailer SN 542BC1624EB007340, Opel GT (942145613)
(“property”).

        3.     The property was sold through an asset purchase agreement. The property was
sold to Kingsley Lumber and Hardware LLC for $17,000.

                                                  Respectfully submitted,

Dated: September 16, 2021                         /s/ Kelly M. Hagan
                                                  Kelly M. Hagan
                                                  Chapter 7 Trustee
                                                  Hagan Law Offices PLC
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